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 6
 7                            IN THE UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                           CASE NO. 2:12-cr-300 MCE
11                               Plaintiff,              MOTION TO DISMISS
                                                         INDICTMENT WITH RESPECT TO
12   v.                                                  DEFENDANT BALWINDER
                                                         KHANGURA AND ORDER
13   BALWINDER KHANGURA,
14                               Defendant.
15
16          The United States, by and through undersigned counsel, hereby moves the Court, under

17 Federal Rule of Criminal Procedure 48(a), to dismiss the indictment with respect to defendant
18 BALWINDER KHANGURA for the following reasons:

19             1. On September 11, 2013, the government was informed of the death of BALWINDER

20 KHANGURA by Pretrial Services.
21             2. On September 17, 2013, Placer County issued a Death Certificate for defendant

22 BALWINDER KHANGURA, listing September 9, 2013 as the date of death.
23             3. The government received a copy of the death certificate in this matter on September

24 25, 2013.
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 1            4. Accordingly, the United States moves the Court to dismiss the indictment against

 2 defendant BALWINDER KHANGURA in this matter.
 3 Dated: October 1, 2013                              Respectfully submitted,
 4                                                     BENJAMIN B. WAGNER
 5                                                     United States Attorney

 6                                                     By: /s/ Jared C. Dolan
                                                       JARED C. DOLAN
 7                                                     Assistant U.S. Attorney
 8
          IT IS SO ORDERED.
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10 Dated: October 2, 2013
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